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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,

                    Plaintiffs,                               8:12CR391

      v.
                                                             JUDGMENT
FRANK FIROZ,

                    Defendant.


      This matter is before the court after a sentencing hearing on January 8, 2015.

Pursuant to findings made on the record at the hearing and the Memorandum and

Order entered on December 31, 2014 (Filing No. 588),

      IT IS HEREBY ORDERED that judgment is entered in favor of the United States

and against defendant Frank Firoz in the amount of $357,300.00, together with interest

from and after this date as allowed by law.

      Dated this 13th day of January, 2015

                                               BY THE COURT:
                                               s/ Joseph F. Bataillon
                                               Senior United States District Judge
